Case 3:19-cv-00115-BLW Document 2 Filed 04/08/19 Page 1 of 3

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COEUR DALENE, 0

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

Vawas' Poth inere vw

Plaintiff, Case No.
vs. COMPLAINT .
(28 U.S.C. § 1331: federal question)
| Univetsi+y ot Jydab sa Jury Trial Requested ““yes ___ no
Defendant.

 

 

1. JURISDICTION

Jurisdiction in this case is based on a federal question (meaning that this suit is based upon a federal
statute or provision of the United States Constitution):

[+ Federal Statute 4Q).9.C..6 14 8% Cb)»
United States Constitution 7”
CL] And a state law claim under the Court’s supplemental jurisdiction authority.
2. PLAINTIFF

My name is Vj wast 4 vFFWGtow . Lama citizen of the State of Xoabhingtoy

presently residing at \#+50 SE Sinson e J det t Pla Wg q q J b 2

Complaint (Rev. 7/2014) 1
Case 3:19-cv-00115-BLW Document 2 Filed 04/08/19 Page 2 of 3

3. DEFENDANT AND CAUSE OF ACTION
(Copy and use a separate page for each defendant and each different type of claim; for example, if you have two different
claims against one defendant, you will use two pages. Attach a continuation page if needed, but try to be brief.)

A. Lam suing Unwersixy of Tighe , who was acting as oh CArion a] Ta ote reronl
(Defendant) ' _ (if applicable: job title, if a person; function, if an entity)

for the Star of tdghe

(if applicable: state, county, city, federal government, or private entity performing a public function)

B. (Factual Basis of Claim) I am complaining that on Nou. \a, dol] - Pre Sen + , Defendant
(dates) :

did the following (state how Defendant participated in the violation and include the reason Defendant so acted if known):

Lowpere and Total Federal Educational Rights were Violate d.

 

 

 

 

 

 

 

 

 

C. (Legal Basis of Claim) I allege that the acts described above violated the following provisions of the
Constitution, federal statutes, or state laws:

Title 67, Onaptet $4 Lae code, Tine 44 chapter 1] Lieve code.

Te WAL Civin fi whca LY ds Wmended Nae discrimingtion im We Eunplay wourt

vct of MILT (ADEA) Awericdn with Disabinrrtes det (ADA)
D. Tallege that I suffered the following ey or damages as a result:

Reravrror ron, Depression, Suicidal thoughts, Less of Iucomt, less of Eudoywont of \ife

E. Iseek the following relief AS 0.000

 

Complaint (Rev. 7/2014) 2
Case 3:19-cv-00115-BLW Document 2 Filed 04/08/19 Page 3 of 3

4. DECLARATION UNDER PENALTY OF PERJURY
I declare under penalty of perjury:

that I am the plaintiff in this action, that I have read the complaint, and that the information contained in
the complaint is true and correct, as required by 28 U.S.C. § 1746 and 18 U.S.C. § 1621.

 

 

 

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Plaintiff's Original Sifnafire 7

Complaint (Rev. 7/2014) 3
